               Case 3:18-cv-05168-RBL Document 40 Filed 11/05/18 Page 1 of 4




 1                                                                 The Honorable Ronald B. Leighton
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14                                UNITED STATES DISTRICT COURT
15                               WESTERN DISTRICT OF WASHINGTON
16                                         AT TACOMA
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20   WHITNEY POOLE, individually and on                  No. 3:18-cv-05168-RBL
21   behalf of all others similarly situated,
22                                                       STIPULATED NOTICE OF DISMISSAL
23                        Plaintiff,
24
25            v.
26
27   BENJAMIN MOORE & CO., INC., a New
28   Jersey corporation,
29
30                        Defendant.
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34           Pursuant to Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Whitney
35
36   Poole and Defendant Benjamin Moore & Co., Inc. hereby stipulate to the dismissal of this action
37
38   in its entirety, with prejudice.
39
40           It Is So Stipulated Through Counsel of Record this 5th day of November, 2018.
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     STIPULATED NOTICE OF DISMISSAL - 1                             G O R DO N     1001 Fourth Avenue
     No. 3:18-CV-05168-RBL                                            T IL DE N    Suite 4000
                                                                     THOMAS        Seattle, WA 98154-1007
                                                                    C O R DE L L   206.467.6477
             Case 3:18-cv-05168-RBL Document 40 Filed 11/05/18 Page 2 of 4




 1                                        GORDON THOMAS HONEYWELL LLP
 2                                        Attorneys for Defendant
 3
 4                                        By    s/ Michael E. Ricketts
 5                                             Diane J. Kero, WSBA No. 11874
 6                                             Michael E. Ricketts, WSBA 9387
 7                                             600 University Street, Suite 2100
 8                                             Seattle, WA 98104-4185
 9                                             Telephone: (206) 676-7500
10                                             dkero@gth-law.com
11                                             mricketts@gth-law.com
12
13
14                                        GREENBERG TRAURIG LLP
15                                        Attorneys for Defendant
16
17                                        By    s/ Eric S. Aronson
18                                             Eric S. Aronson
19                                             Todd L. Schleifstein
20                                             Paige Nestel
21                                             GREENBERG TRAURIG LLP
22                                             500 Campus Drive, Suite 400
23                                             Florham Park, NJ 07932
24                                             Telephone: (973) 360-7900
25                                             AronsonE@gtlaw.com
26                                             SchleifsteinT@gtlaw.com
27                                             NestelP@gtlaw.com
28
29
30                                        GORDON TILDEN THOMAS & CORDELL LLP
31                                        Attorneys for Plaintiff Whitney Poole
32
33                                        By     s/ Brendan Winslow-Nason
34                                             Jeffrey M. Thomas, WSBA #21175
35                                             Mark Wilner, WSBA #31550
36                                             Brendan Winslow-Nason, WSBA #39328
37                                             600 University Street, Suite 2915
38                                             Seattle, Washington 98101
39                                             206.467.6477
40                                             jthomas@gordontilden.com
41                                             mwilner@gordontilden.com
42                                             bwinslow-nason@gordontilden.com
43
44
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     STIPULATED NOTICE OF DISMISSAL - 2                       G O R DO N     1001 Fourth Avenue
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                                                               THOMAS        Seattle, WA 98154-1007
                                                              C O R DE L L   206.467.6477
             Case 3:18-cv-05168-RBL Document 40 Filed 11/05/18 Page 3 of 4




 1                                        KOZONIS LAW
 2                                        Attorneys for Plaintiff Whitney Poole
 3
 4                                        By    s/ Gary Klinger
 5                                             Gary Klinger*
 6                                             4849 N. Milwaukee Ave., #300
 7                                             Chicago, IL 60630
 8                                             773.545.9607
 9                                             gklinger@kozonislaw.com
10                                             *Admitted Pro Hac Vice
11
12
13                                        WASKOWSKI JOHNSON YAHALEM LLP
14                                        Attorneys for Plaintiff Whitney Poole
15
16                                        By    s/ Daniel R. Johnson
17                                             Daniel R. Johnson*
18                                             Waskowski Johnson Yahalem LLP
19                                             954 W. Washington Blvd., Suite 322
20                                             Chicago, IL 60607
21                                             312.278.3153
22                                             djohnson@wjylegal.com
23                                             *Admitted Pro Hac Vice
24
25
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     STIPULATED NOTICE OF DISMISSAL - 3                       G O R DO N     1001 Fourth Avenue
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                                                               THOMAS        Seattle, WA 98154-1007
                                                              C O R DE L L   206.467.6477
               Case 3:18-cv-05168-RBL Document 40 Filed 11/05/18 Page 4 of 4




 1                                      CERTIFICATE OF SERVICE
 2
 3           I hereby certify that on this 5th day of November, 2018, I electronically filed the
 4
 5   foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
 6
 7   such filing to all parties of record.
 8
 9           DATED this 5th day of November, 2018, at Seattle, Washington.
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12                                                  s/ Brendan Winslow-Nason
13                                                 Brendan Winslow-Nason, WSBA #39328
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     STIPULATED NOTICE OF DISMISSAL - 4                              G O R DO N     1001 Fourth Avenue
     No. 3:18-CV-05168-RBL                                             T IL DE N    Suite 4000
                                                                      THOMAS        Seattle, WA 98154-1007
                                                                     C O R DE L L   206.467.6477
